                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


GUADALUPE ADAMS,                              )
                                              )
               Plaintiff,                     )
                                              )
       vs.                                    )       Case No. 6:15-cv-3266-MDH
                                              )
KENCO, INC.,                                  )
                                              )
               Defendant.                     )



                                              ORDER

       Before the Court is the Joint Stipulation of Full and Final Dismissal with Prejudice.

(Doc. No. 18). Based on the parties’ stipulation, the Court hereby dismisses this case in its

entirety, with prejudice, each party to bear its own attorneys’ fees and costs.



IT IS SO ORDERED.

DATED:         December 29, 2015

                                                        /s/ Douglas Harpool_______________
                                                      DOUGLAS HARPOOL
                                                      UNITED STATES DISTRICT JUDGE




         Case 6:15-cv-03266-MDH Document 19 Filed 12/29/15 Page 1 of 1
